           1:15-cv-01006-JBM-JEH # 1         Page 1 of 4
                                                                                                     E-FILED
                                                                 Tuesday, 06 January, 2015 08:26:27 AM
                                                                          Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   PEORIA DIVISION
                                                   :
Sean Coleman,                                      :
                                                   :
                        Plaintiff,                 :
                                                     Civil Action No.: 1:15-cv-1006
                                                                       ______
        v.                                         :
                                                   :
                                                     COMPLAINT
State Farm Bank; and DOES 1-10, inclusive,         :
                                                   :
                        Defendant.                 :
                                                   :
                                                   :

        For this Complaint, the Plaintiff, Sean Coleman, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        3.      The Plaintiff, Sean Coleman (“Plaintiff”), is an adult individual residing in

Hilliard, Ohio, and is a “person” as defined by 47 U.S.C. § 153(39).

        4.      The Defendant, State Farm Bank (“State Farm”), is a Illinois business entity with

an address of 1 State Farm Place, Bloomington, Illinois 61701, and is a “person” as defined by

47 U.S.C. § 153(39).

        5.      Does 1-10 (the “Collectors”) are individual collectors employed by State Farm

and whose identities are currently unknown to the Plaintiff. One or more of the Collectors may
           1:15-cv-01006-JBM-JEH # 1           Page 2 of 4



be joined as parties once their identities are disclosed through discovery.

           6.    State Farm at all times acted by and through one or more of the Collectors.

                                                FACTS

           7.    Within the last four years, State Farm began placing calls to Plaintiff’s cellular

telephone, number 614-xxx-0031, in an attempt to collect a consumer debt (the “Debt”) allegedly

owed by Plaintiff.

           8.    During all times mentioned herein, State Farm called Plaintiff on his cellular

telephone using an automatic telephone dialing system (“ATDS”).

           9.    During numerous conversations with a live representative from State Farm,

Plaintiff requested that the repeated calls to his cellular phone cease. After each request, the

representative would respond by saying “it can take up to 24 hours to take you off the automated

dialer”.

           10.   Without Plaintiff’s consent, State Farm placed over twelve additional calls to

Plaintiff’s cellular phone after his original request for the calls to cease.

           11.   The repeated calls caused Plaintiff significant inconvenience.

                                     COUNT I
           VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                               47 U.S.C. § 227, et seq.

           12.   The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

           13.   At all times mentioned herein and within the last year, Defendant called Plaintiff

on his cellular telephone using an ATDS or predictive dialer.

           14.   In expanding on the prohibitions of the TCPA, the Federal Communications

Commission (FCC) defines a Predictive Dialer as “a dialing system that automatically dials

consumers’ telephone numbers in a manner that “predicts” the time when a consumer will
        1:15-cv-01006-JBM-JEH # 1            Page 3 of 4



answer the phone and a [representative] will be available to take the call…”2003 TCPA Order,

18 FCC 36 Rcd 14022. The FCC explains that if a representative is not “free to take a call that

has been placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or

a dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on companies that

“abandon” calls by setting “the predictive dialers to ring for a very short period of time before

disconnecting the call; in such cases, the predictive dialer does not record the call as having been

abandoned.” Id.

       15.     Defendant’s Predictive Dialers have the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

       16.     Defendant’s contacted Plaintiff by means of automatic telephone calls to his

cellular phone knowing that it lacked consent to call his number in light of his request for the

calls to cease. As such, each call placed to Plaintiff was made in knowing and/or willful violation

of the TCPA, and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

       17.     The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

       18.     Plaintiff is entitled to an award of $500.00 in statutory damages for each call

made in negligent violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       19.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
        1:15-cv-01006-JBM-JEH # 1            Page 4 of 4



                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff respectfully prays that judgment be awarded in the

Plaintiff’s favor and against the Defendant as follows:

               1. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

               2. Against the Defendant, jointly and severally, awarding the Plaintiff punitive

       damages in such amount as is found appropriate; and

               3. Granting the Plaintiff such other and further relief as may be just and proper.

                     TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: January 6, 2015

                                              Respectfully submitted,

                                              By /s/ Sergei Lemberg

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